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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

NUVASIVE, INC.                                       )
                                                     )
               Plaintiff,                            )
                                                     )
               v.                                    )      Civil Action No. 1:19-cv-10800-DJC
                                                     )
TIMOTHY DAY                                          )
                                                     )
      Defendant.                                     )
__________________________________                   )

                         NUVASIVE, INC.’S ASSENTED-TO MOTION TO ADMIT
                            CHRISTOPHER W. CARDWELL PRO HAC VICE

               Pursuant to Local rule 83.5.3(b), Plaintiff, NuVasive, Inc. (“NuVasive”), hereby moves

for the admission pro hac vice of its counsel Christopher W. Cardwell. As grounds for this

motion, NuVasive states as follows:

               1.       Christopher W. Cardwell is a partner with the law firm of Gullett, Sanford,

Robinson & Martin, PLLC, located at 150 Third Avenue South, Suite 1700, Nashville,

Tennessee 37201, and is a member in good standing of the bar of every jurisdiction in which he

is admitted.

               2.       In further support of this motion, and pursuant to Local Rule 83.5.3(b), NuVasive

submits the attached Certificate of Christopher W. Cardwell establishing that he is a member in

good standing of the bar in every jurisdiction in which he has been admitted to practice; there are

no disciplinary proceedings against him in any jurisdiction; he has not previously had a pro hac

vice admission (or other admission for a limited purpose under Local Rule 83.5.3) revoked for

misconduct; and he has read, is familiar with and agrees to comply with the Local Rules of the

United States District Court for the District of Massachusetts.




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               3.       Counsel for Defendant Timothy Day, Bryan Busch, Esq., assents to this Motion. 1

                        CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

               I hereby certify that the parties have conferred regarding the narrow issues presented

herein and that counsel for Timothy Day assents to this Motion.


                                             Respectfully submitted,

                                             NUVASIVE, INC.

                                             By its attorneys,

                                             /s/ Michael S. Batson
                                             Holly M. Polglase (BBO #553271)
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                                             Christopher W. Cardwell, Esq. (pro hac vice forthcoming)
                                             M. Thomas McFarland, Esq. (pro hac vice forthcoming)
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                                             Attorneys for Plaintiff NuVasive, Inc.
Dated: May 2, 2019




1
 NuVasive notes that Steven D. Weatherhead, Esq. of the firm Marathas Barrow Weatherhead Lent LLP entered his
appearance on behalf of Defendant on May 1, 2019. (Doc. 14). NuVasive anticipates Mr. Busch seeking similar pro
hac vice admission and appearing on Defendant’s behalf in this matter shortly.

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                                CERTIFICATE OF SERVICE

       Pursuant to Local Rules 5.2(b)(2) and 5.4 of the Local Rules of the United States District
Court for the District of Massachusetts, I hereby certify that this document, filed through the
ECF system, will be sent electronically to the registered participants as identified on the Notice
of Electronic Filing and that paper copies will be sent by first-class mail to those indicated as
non-registered participants, if any, on May 2, 2019.

       In addition, I hereby certify that a courtesy copy of this document was sent by email on
May 2, 2019 to:

                                     Bryan Busch, Esq.
                                     Busch, Slipakoff, Mills, Slomka, LLC
                                     2859 Paces Ferry Road SE, Suite 1700
                                     Atlanta, Georgia 30339
                                     bb@bsms.law

                                     Attorney for Defendant



                                     /s/ Michael S. Batson
                                     Michael S. Batson




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